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                       IN THE UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF ARKANSAS
                              FAYETTEVILLE DIVISION



SANDRA J. KALLICH                                                                 PLAINTIFF

v.                                  CASE NO. 5:19-CV-5133

ANDREW M. SAUL, Commissioner,
Social Security Administration                                                    DEFENDANT



                                            ORDER

       The Court has received proposed findings and recommendations (Doc. 14) from Chief

United States Magistrate Judge Erin L. Wiedemann. There have been no objections. After careful

review, the Court concludes that the findings and recommendations should be, and hereby are,

approved and adopted as this Court’s findings in all respects in their entirety. Judgment will be

entered accordingly.

       IT IS SO ORDERED this May 15, 2020.



                                            /s/P. K. Holmes III
                                            P. K. HOLMES III
                                            U.S. DISTRICT JUDGE
